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14   Attorneys for Defendant
     X CORP. as Successor in Interest to
15   TWITTER, INC.
16

17                                UNITED STATES DISTRICT COURT
18                             NORTHERN DISTRICT OF CALIFORNIA
19

20   MARK SCHOBINGER, on behalf of                Case No. 3:23-CV-03007-VC
     himself and all others similarly situated,
21                                                DECLARATION OF ERIC MECKLEY
                            Plaintiffs,           IN SUPPORT OF DEFENDANT’S
22                                                MOTION FOR SANCTIONS
                                                  PURSUANT TO FEDERAL RULE OF
23                  v.                            CIVIL PROCEDURE 11, 28 U.S.C.
                                                  § 1927, AND INHERENT POWER OF
24   TWITTER, INC. and X CORP.,                   THE COURT
25                          Defendants            Date:    March 27, 2025
                                                  Time:    10 a.m.
26                                                Judge:   Hon. Vince Chhabria
27

28
                                                               DECL. OF ERIC MECKLEY ISO
                                                                  MOTION FOR SANCTIONS
                                                                 CASE NO. 3:23-cv-03007-VC
 1                               DECLARATION OF ERIC MECKLEY

 2           I, Eric Meckley, declare as follows:

 3           1.      I am a partner at Morgan, Lewis & Bockius LLP, attorneys of record for

 4   Defendant X Corp. (“Defendant” or “X”), on its own behalf and as successor in interest to

 5   Twitter, Inc. I submit this declaration in support of Defendant’s Motion for Sanctions Pursuant to

 6   Federal Rule of Civil Procedure 11 (“Rule 11”), 28 U.S.C. Section 1927, and Inherent Power of

 7   the Court. I have personal knowledge of the facts set forth in this declaration, and if called as a

 8   witness I could and would competently testify thereto.

 9           2.      Defendant has incurred significant attorneys’ fees and costs as a result of

10   Plaintiff’s and his counsel’s unjustified and sanctionable conduct, including attorneys’ fees and

11   costs related to (1) Defendant’s preparation for (including without limitation ESI discovery

12   collection, review and production) and taking the depositions of Plaintiff Mark Schobinger and

13   former Twitter Chief Financial Officer Ned Segal; (2) Defendant’s researching, analyzing,

14   opposing and arguing Plaintiff’s reckless, bad faith and frivolous Rule 23 motion; (3) Defendant’s

15   reviewing, analyzing, and responding to Plaintiff’s counsel’s reckless, bad faith, last-ditch fishing

16   expedition additional discovery requests and deposition notice, including, without limitation, its

17   researching and preparation of a discovery-related joint-letter briefing to the Court concerning

18   Plaintiff’s additional discovery requests and deposition notice; (4) Defendant counsel’s necessary

19   communications with Plaintiff’s counsel, Mr. Segal’s counsel and Defendant regarding the

20   litigation post-July 12, 2024; and (5) Defendant’s researching, drafting and litigating this Motion

21   as well as its Response to Plaintiff’s Motion to Dismiss with Prejudice in an effort to evade

22   sanctions. A further breakdown of the fees incurred from work by my firm, and required fee

23   payments by X to another law firm, Sidley Austin, counsel for Mr. Segal in connection with this

24   case, is as follows:

25   ///

26   ///

27   ///

28   ///
                                                                             DECL. OF ERIC MECKELY ISO
                                                       1                        MOTION FOR SANCTIONS
                                                                               CASE NO. 3:23-cv-03007-VC
 1
           Category of Work Resulting                Attorneys1              Attorneys’ Fees
 2
            from Sanctionable Conduct                                            Amount
 3
         Work related to the deposition of   Eric Meckley                $28,413.00
 4
         Plaintiff Mark Schobinger,          Ashlee Cherry
 5
         including without limitation a      Leonard Impagliazzo
 6
         voluminous ESI review, document
 7
         productions in connection with
 8
         such deposition, deposition
 9
         preparation, and attending and
10
         taking Plaintiff’s deposition.
11
         Fees paid by X pursuant to          Multiple Sidley Austin      $286,159.50
12
         California Labor Code section       attorneys
13
         2802 and a fee
14
         advancement/indemnity agreement
15
         and policy to Sidley Austin LLP
16
         for work that X understands to
17
         involve their representation and
18
         defense of former X Chief
19
         Financial Officer Ned Segal in
20
         connection with his deposition in
21
         this case.
22
         Work related to the deposition of   Eric Meckley                $45,738.00
23
         former X Chief Financial Officer    Ashlee Cherry
24
         Ned Segal, including without        Leonard Impagliazzo
25
         limitation a voluminous ESI         Kassia Stephenson
26

27   1
       Defendant has taken a conservative approach and excluded fees for certain individuals that,
28   while necessary and appropriate to the litigation, were more minimal in amount and work scope
     in the context of the overall case.
                                                                        DECL. OF ERIC MECKLEY ISO
                                                         2                 MOTION FOR SANCTIONS
                                                                          CASE NO. 3:23-cv-03007-VC
 1
       Category of Work Resulting                  Attorneys1        Attorneys’ Fees
 2
        from Sanctionable Conduct                                        Amount
 3
     review, document productions in
 4
     connection with such deposition,
 5
     deposition preparation, and
 6
     attending and taking Segal’s
 7
     deposition.
 8
     Work related to defending against     Eric Meckley          $241,731.00
 9
     Plaintiff’s Motion for Class          Brian Berry
10
     Certification (ECF No. 84),           Jonathan Lotsoff
11
     including without limitation          Ashlee Cherry
12
     review and analysis of Plaintiff’s    Kassia Stephenson
13
     moving papers, research of            Carolyn Corcoran
14
     relevant case law (including          Hannah Fisher
15
     without limitation on a multitude
16
     of choice of law and state law
17
     issues), external correspondence
18
     with client, internal
19
     correspondence with colleagues,
20
     drafting of opposition and
21
     supporting papers, collection and
22
     preparation of supporting exhibits,
23
     responding to Plaintiffs filing of
24
     sealed documents, filing an
25
     administrative motion to seal
26
     documents in support of
27
     Opposition, analysis of Plaintiff’s
28
                                                                DECL. OF ERIC MECKLEY ISO
                                                    3              MOTION FOR SANCTIONS
                                                                  CASE NO. 3:23-cv-03007-VC
 1
       Category of Work Resulting                   Attorneys1         Attorneys’ Fees
 2
        from Sanctionable Conduct                                          Amount
 3
     reply brief, drafting of
 4
     administrative motion to file sur-
 5
     reply in response to reply brief and
 6
     research in support of the same,
 7
     preparation for hearing on motion
 8
     for class certification and
 9
     attendance of hearing on motion,
10
     and review of Court’s order
11
     denying motion.
12
     Work related to Plaintiff’s            Eric Meckley           $19,341.00
13
     Discovery Requests After the           Jonathan Lotsoff
14
     Court’s Order Denying Class            Ashlee Cherry
15
     Certification, including without       Leonard Impagliazzo
16
     limitation preparation and arguing     Kassia Stephenson
17
     of a joint discovery letter to the     Hannah Fisher
18
     Magistrate Judge concerning
19
     Plaintiff’s eleventh-hour discovery
20
     requests (ECF No. 111), external
21
     correspondence with opposing
22
     counsel and client, internal
23
     correspondence with colleagues,
24
     review of discovery responses and
25
     documents produced to date.
26
     Work related to Defendant’s            Eric Meckley           $57,645.00
27
     Motion for Sanctions, including        Jonathan Lotsoff
28
                                                                  DECL. OF ERIC MECKLEY ISO
                                                     4               MOTION FOR SANCTIONS
                                                                    CASE NO. 3:23-cv-03007-VC
 1
       Category of Work Resulting                  Attorneys1        Attorneys’ Fees
 2
        from Sanctionable Conduct                                        Amount
 3
     without limitation research of        Ashlee Cherry
 4
     relevant case law, analysis of        Kassia Stephenson
 5
     pleadings and hearing transcripts,
 6
     drafting of motion for sanctions,
 7
     external correspondence with
 8
     client, and internal correspondence
 9
     with colleagues.
10
     Work related to general defense       Eric Meckley          $13,923.00
11
     strategy and litigation tasks,        Jonathan Lotsoff
12
     including without limitation          Kassia Stephenson
13
     external correspondence with          Carolyn Corcoran
14
     client and opposing counsel, and      Hannah Fisher
15
     internal correspondence with
16
     colleagues; drafting of case
17
     management statements,
18
     stipulations and status updates to
19
     Court; and attending Court
20
     conferences.
21
     Work related to Defendant’s           Eric Meckley          $17,577.00
22
     Response to Plaintiff’s Motion to     Jonathan Lotsoff
23
     Dismiss with Prejudice, including     Kassia Stephenson
24
     without limitation research of
25
     relevant case law, drafting of
26
     response brief, external
27
     correspondence with client, and
28
                                                                DECL. OF ERIC MECKLEY ISO
                                                    5              MOTION FOR SANCTIONS
                                                                  CASE NO. 3:23-cv-03007-VC
 1
           Category of Work Resulting                  Attorneys1                   Attorneys’ Fees
 2
           from Sanctionable Conduct                                                    Amount
 3
         internal correspondence with
 4
         colleagues.
 5
                                                                                    Total: $710,527.50
 6

 7             3.      Of the foregoing total amount, Defendant incurred approximately $241,731 in

 8   attorneys’ fees and $289.35 in costs attributable to litigating and arguing Plaintiff’s Rule 23

 9   motion to certify a class and related proceedings. Substantial work by several litigation team

10   members was required for these tasks arising from Plaintiff’s filings. For example, Plaintiff

11   sought to apply California law to a putative nationwide class including putative class members

12   who worked in approximately thirty-six (36) different states. Defendant’s Opposition needed to

13   address and explain why Plaintiff could not meet the Rule 23 requirements in relevant part

14   because numerous material issues associated with his breach of contract and promissory estoppel

15   claims were governed by myriad different laws of the states in which putative class members

16   worked.2 See ECF 84 § V.A. These complexities required significant legal research and analysis

17   by a litigation team across several of the various states at issue, as well as substantial preparation

18   for the oral argument. Moreover, Defendant had to research, analyze and brief these issues under

19   two distinct choice of law tests – California Civil Code Section 1646 as to contract interpretation

20   issues, and the three-part Governmental Interest Test as to all other issues. The Court’s Order

21   denying Plaintiff’s class certification motion acknowledged these complex issues. ECF 101, at 3

22   (“And Schobinger seeks to certify a nationwide class under California law, without regard to the

23   obvious choice-of-law concerns that are implicated.”). Furthermore, Defendant filed an

24
     2
25     These varying state-specific issues included, for example, the admissibility and use of extrinsic
     evidence and differing standards for contractual ambiguity in contract interpretation matters;
26   whether continued at-will employment constitutes legal consideration to support a contract;
     standards for contract modification or novation; applicability of the statute of frauds to Plaintiff’s
27   claims premised upon oral promises; the viability of promissory estoppel claims, particularly in
     the employment context; requirements for the clarity of a promise necessary to support a
28   promissory estoppel claim; and the availability of a jury trial for promissory estoppel claims. See
     ECF 84, at 12-15.
                                                                              DECL. OF ERIC MECKLEY ISO
                                                        6                        MOTION FOR SANCTIONS
                                                                                CASE NO. 3:23-cv-03007-VC
 1   administrative motion for leave to file a sur-reply in response to Plaintiff’s improper reply brief to

 2   the Court, arguing that Plaintiff’s reply (1) improperly attempted to amend the class definition;

 3   (2) made material misstatements that directly contradicted Defendant’s Opposition briefing; and

 4   (3) contained new legal arguments. ECF 92. The foregoing amounts also include fees incurred

 5   on Defendant’s motion to seal certain exhibits filed in connection with the briefing.

 6          4.      I have reviewed the applicable invoices and time records from which the above

 7   figures were generated. I believe that the attorneys’ fees and costs reflected in Paragraphs 2 and 3

 8   are reasonable and justified given the needs of the case, the issues presented, the billing rates

 9   charged, and the quality and quantity of the work performed. As discussed, the work related to

10   the above generally included (1) time spent preparing for and taking the depositions of Plaintiff

11   and one of Plaintiff’s key fact witnesses, former CFO Ned Segal (repeatedly referenced by name

12   in Plaintiff’s complaint); (2) time spent analyzing Plaintiff’s motion for class certification,

13   conducting legal research, drafting the responsive briefing and supporting declarations, compiling

14   the supporting exhibits and documents in support of Defendant’s Opposition to Plaintiff’s motion

15   for class certification, and finalizing the papers for filing; (3) time spent preparing for and

16   attending the hearing on Plaintiff’s motion for class certification; (4) time spent reviewing and

17   responding to Plaintiff’s recent discovery requests, and drafting Defendant’s portion of the joint

18   discovery letter in response to Plaintiff’s motion to compel discovery; (5) time spent

19   communicating with Plaintiff’s counsel, Mr. Segal’s counsel, and my clients regarding all of the

20   above, among other related tasks incident to litigation; (6) time spent drafting Defendant’s

21   Motion for Sanctions, including time spent conducting legal research, drafting the supporting

22   declaration, and finalizing the papers for filing; and (7) time spent analyzing Plaintiff’s Motion to

23   Dismiss with Prejudice, conducting legal research, drafting the responsive briefing and supporting

24   declaration, and finalizing the papers for filing.

25          5.      My current normal hourly rate is $1,450. My colleague Jonathan Lotsoff’s current

26   normal hourly rate is $1,350. My colleague Brian Berry’s current normal hourly rate is $1,350.

27   My colleague Ashlee Cherry’s current normal hourly rate is $1,085. My colleague Leonard

28   Impagliazzo’s current normal hourly rate is $875. My colleague Kassia Stephenson’s current
                                                                              DECL. OF ERIC MECKLEY ISO
                                                          7                      MOTION FOR SANCTIONS
                                                                                CASE NO. 3:23-cv-03007-VC
 1   normal hourly rate is $830. My colleague Carolyn Corcoran’s current normal hourly rate is $790.

 2   My colleague Hannah Fisher’s current normal hourly rate is $740. Our team’s respective

 3   standard hourly rates were slightly lower during 2024. The fees set forth above were all

 4   calculated based upon a lesser blended hourly value of $630 for each hour billed by all

 5   timekeepers (hours worked can be derived from the above by dividing the totals in Paragraph 2

 6   by $630). The hourly rates charged (both the normal and as valued blended rate for this

 7   litigation) are comparable to the hourly rates charged by other law firms of like experience

 8   providing similar services.

 9          6.      As noted above, the fees that Defendant paid to Sidley Austin were made pursuant

10   to a fee advancement/indemnity agreement and policy and as required by California Labor Code

11   section 2802 for its representation of Twitter’s former CFO Negal Segal in connection with his

12   deposition in this matter. Based upon the information in the Sidley Austin invoices, numerous

13   Sidley Austin attorneys worked on these issues (including preparing Segal for and defending him

14   during his deposition and reviewing documents and information related to the case), with hourly

15   rates charges ranging from $590 to $2,100 per hour.

16          7.      Defendant incurred necessary and reasonable costs associated with taking the

17   Plaintiff’s and Ned Segal’s depositions. Defendant incurred approximately $11,649.65 in costs

18   for the deposition transcript fees, videographer fees, and cancellation fees incurred from

19   Plaintiff’s depositions. Defendant incurred approximately $10,452 in costs for the deposition

20   transcript fees and videographer fees for Ned Segal’s deposition. I verify that this represents

21   actual costs as reflected by my firm’s records and invoices to date.

22          8.      The fees amount in Paragraphs 2 and 3 and costs in Paragraph 7 do not include the

23   total full amount of attorneys’ fees and costs incurred for post-filing matters, including without

24   limitation further briefing and argument on this Motion for sanctions as well as on Plaintiff’s

25   Motion to Dismiss with Prejudice. A supplemental declaration can be provided to reflect such

26   additional fees and costs incurred once the briefing, argument and ruling on this motion and

27   Plaintiff’s dismissal request is completed.

28   ///
                                                                            DECL. OF ERIC MECKLEY ISO
                                                       8                       MOTION FOR SANCTIONS
                                                                              CASE NO. 3:23-cv-03007-VC
 1          9.      The reasonable attorneys’ fees and costs incurred by Defendant to date as a result

 2   of Plaintiff’s and his counsel’s sanctionable conduct for the work performed by my firm as

 3   reflected in Paragraphs 2, 3 and 7 is estimated to be at least approximately $424,368, with an

 4   additional $286,159.50 related to work performed by Sidley Austin as noted above, for a total of

 5   $710,527.50. Further documentation supporting Defendant’s reasonable fees and costs incurred

 6   by my firm as a result of Plaintiff’s and his counsel’s sanctionable conduct can be provided in

 7   camera at the Court’s request if further substantiation is needed.

 8          10.     In full compliance with Rule 11, my office served an advance copy of its Motion

 9   for Sanctions on Plaintiff’s counsel on January 23, 2025. While not required by Rule 11,

10   Defendant also served on Plaintiff the then-current draft copy of my supporting Declaration

11   setting forth Defendant’s attorneys’ fees and costs incurred between July 12, 2024 and January

12   15, 2025. Attached hereto as Exhibit 1 is a true and correct copy of the January 23, 2025 Rule 11

13   “safe harbor” letter and corresponding exhibits.

14          11.     Attached hereto as Exhibit 2 is a true and correct copy of the October 3, 2024,

15   transcript from the hearing on Plaintiff’s Motion for Class Certification.

16          12.     Attached hereto as Exhibit 3 is a true and correct copy of the October 25, 2024,

17   transcript from the parties’ further case management conference.

18

19          I declare under penalty of perjury under the laws of the United States and the State of

20   California that the foregoing is true and correct. Signed on February 14, 2025 in San Francisco,

21   California.

22
                                                            /s/ Eric Meckley
23                                                           Eric Meckley

24

25

26

27

28
                                                                               DECL. OF ERIC MECKLEY ISO
                                                        9                         MOTION FOR SANCTIONS
                                                                                 CASE NO. 3:23-cv-03007-VC
